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                         EXHIBIT G
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                                           NiggKike Bar Mitzvah - general
                            Sayer#5269/Sayer/Eli Mosley#5269 at 2017-03-22 17:02:34 +0000

 if he comes in and I have to defend myself all they have to do is look through my computer and Im fucked so not really a good
 option
Sayer#5269/Sayer/Eli Mosley#5269
2017-03-22 17:02:34 +0000




                                                                                                                                 EXHIBIT

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